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                  IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


COURTNEY NORTON,

           Petitioner,


v.                                            CIVIL ACTION NO. 1:05CV83
                                          CRIMINAL ACTION NO. 1:03CR32-1
                                                    (Judge Keeley)


UNITED STATES OF AMERICA,

           Respondent.


                     MEMORANDUM OPINION AND ORDER
                  ADOPTING REPORT AND RECOMMENDATION

     On May 20, 2005, the pro se petitioner, Courtney Norton

(“Norton”),    filed   an   Application    for   Post   Conviction   Relief

Pursuant to 28 U.S.C. § 2255.1       On August 24, 2007, United States

Magistrate Judge John S. Kaull entered a Report and Recommendation

(“R&R”) which recommended that Norton’s 2255 petition be denied and




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       Norton asserts the following four grounds for relief: (1)
the Court erred by sentencing the petitioner based on relevant
conduct of 192 grams; (2) the petitioner’s plea was not knowing and
voluntary because the Court did not explain that his sentence could
be enhanced based on conduct outside the count to which he pled;
(3) the government failed to prove by a preponderance of the
evidence that the petitioner was responsible for 192 grams of
cocaine; and (4) the Court erred by not making particularized
findings as to the actual amount of drugs to be attributed to the
petitioner. Norton admits that these grounds should normally have
been raised on direct appeal, but he argues that due to ineffective
assistance of counsel, he should be allow to pursue these grounds
in a § 2255 petition.
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dismissed with prejudice.         On October 25, 2007, Norton filed

objections to the R&R.

     Norton raises two issues in his objections: (1) He claims that

the Court failed to advise him that he was pleading to a charge

with a mandatory minimum sentence; and (2) Defense counsel advised

him that he had ten days to file an appeal which, he contends,

means that defense counsel realized that Norton had legitimate

defenses and should have filed the appeal in a timely fashion.

     This Court reviews the issues raised in Norton’s objections de

novo, but may adopt any areas of the R&R to which Norton did not

object without conduct a de novo review.

     Upon de novo review, the Court finds that the Magistrate Judge

correctly applied the controlling authority of Bousley v. United

States, 523 U.S. 614 (1998).          Norton’s issues should have been

asserted in a direct appeal and, by not filing such an appeal,

those issues have been waived.            Furthermore, Norton has never

asserted that he asked his counsel to file a direct appeal, thus

counsel could not have been ineffective for failing to do so.              See

United States v. Peak, 992 F.2d 39, 42 (4th Cir. 1993).

     Consequently, this Court         ADOPTS   Magistrate Judge Kaull’s

Report   and   Recommendation    in   its   entirety,   OVERRULES    all    of

Norton’s objections, DENIES Norton’s petition (civ. dkt. no. 1 &

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crim. dkt. no. 260), and ORDERS that Norton’s case be DISMISSED

WITH PREJUDICE.    The Court further ORDERS the Clerk to STRIKE this

case from the Court’s docket.

     The Clerk is directed to mail a copy of this Order to the

petitioner.

Dated: October 29, 2007.



                                         /s/ Irene M. Keeley
                                         IRENE M. KEELEY
                                         UNITED STATES DISTRICT JUDGE




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